             Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 1 of 18



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

----------------------------------------------------------
SHIVA STEIN,                                               :
                                                           :
                  Plaintiff,                               :   Case No. ______________
                                                           :
v.                                                         :
                                                           :   COMPLAINT FOR VIOLATIONS OF
LADENBURG THALMANN FINANCIAL                               :   SECTIONS 14(a) AND 20(a) OF THE
SERVICES INC., HENRY C. BEINSTEIN,                         :   SECURITIES EXCHANGE ACT OF
GLENN C. DAVIS, BRIAN S. GENSON, DR. :                         1934
RICHARD M. KRASNO, RICHARD J.                              :
LAMPEN, MICHAEL S. LIEBOWITZ,                              :   JURY TRIAL DEMANDED
HOWARD M. LORBER, JACQUELINE M.                            :
SIMKIN, MARK ZEITCHICK, ADAM                               :
MALAMED,                                                   :
                                                           :
                  Defendants.
---------------------------------------------------------

        Shiva Stein (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon

personal knowledge:

        1.       This is an action brought by Plaintiff against Ladenburg Thalmann Financial

Services Inc. (“Ladenburg or the “Company”), the members Ladenburg’s board of directors (the

“Board” or the “Individual Defendants” and collectively with the Company, the “Defendants”)

for their violations of Section 14(a) and 20(a) of the Securities Exchange Act of 1934 (the

“Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9, 17 C.F.R. 240.14a-9 and 17

C.F.R. § 244.100, in connection with the proposed acquisition of Ladenburg by affiliates of

Advisor Group Holdings, Inc. (“Advisor Group”).
            Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 2 of 18



       2.       Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading Preliminary Proxy Statement (the “Proxy

Statement”) to be filed on December 6, 2019 with the United States Securities & Exchange

Commission (“SEC”) and disseminated to Company stockholders.               The Proxy Statement

recommends that Company stockholders vote in favor of a proposed transaction whereby

Harvest Merger Sub, Inc. (“Merger Sub”, a wholly owned subsidiary of Advisor Group, will be

merged with and into the Company, with the Company continuing as the surviving corporation

and a subsidiary of Advisor Group (the “Proposed Transaction”). Pursuant to the terms of the

definitive agreement and plan of merger the companies entered into (the “Merger Agreement”)

each Ladenburg common share issued and outstanding will be converted into the right to receive

$3.50 per share in cash (the “Merger Consideration”).

       3.       The consideration Ladenburg stockholders stand to receive in connection with the

Proposed Transaction and the process by which Defendants propose to consummate the

Proposed Transaction are fundamentally unfair to Plaintiff and the other common stockholders of

the Company. Defendants have now asked Ladenburg’s stockholders to support the Proposed

Transaction in exchange for inadequate consideration based upon the materially incomplete and

misleading representations and information contained in the Proxy Statement, in violation of

Sections 14(a) and 20(a) of the Exchange Act. Specifically, the Proxy Statement contains

materially incomplete and misleading information concerning, among other things, (i)

Ladenburg’s financial projections, relied upon by the Company’s financial advisor, Jefferies

LLC (“Jefferies”) in its financial analyses; and (ii) the data and inputs underlying the financial

valuation analyses that support the fairness opinion provided by Jefferies. The failure to

adequately disclose such material information constitutes a violation of Sections 14(a) and 20(a)




                                                2
            Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 3 of 18



of the Exchange Act as Ladenburg stockholders need such information in order to cast a fully-

informed vote in connection with the Proposed Transaction.

       4.       It is imperative that the material information that has been omitted from the Proxy

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.

       5.       For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to Ladenburg’s stockholders or, in the event

the Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

       6.       This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

       7.       Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over defendant by this Court permissible under

traditional notions of fair play and substantial justice. “Where a federal statute such as Section 27

of the [Exchange] Act confers nationwide service of process, the question becomes whether the

party has sufficient contacts with the United States, not any particular state.” Sec. Inv’r Prot.

Corp. v. Vigman, 764 F.2d 1390, 1315 (9th Cir. 1985). “[S]o long as a defendant has minimum

contacts with the United States, Section 27 of the Act confers personal jurisdiction over the

defendant in any federal district court.” Id. at 1316 (emphasis added).


                                                 3
             Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 4 of 18



        8.       Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C.

§ 78aa, as well as under 28 U.S.C. § 1391, because Defendants are found or are inhabitants or

transact business in this District. Ladenburg maintains its Ladenburg Thalmann & Co. Inc.

headquarters in New York, New York, and Ladenburg hired its financial advisor, Jefferies, who

is headquartered in this District. Further, the stockholder vote will be held in New York, New

York, rendering venue in this District appropriate.

                                            PARTIES

        9.       Plaintiff is, and has been at all relevant times, the owner of Ladenburg common

stock and has held such stock since prior to the wrongs complained of herein.

        10.      Individual Defendant Henry C. Beinstein has served as a member of the Board

since 2011.

        11.      Individual Defendant Glenn C. Davis has served as a member of the Board since

2018.

        12.      Individual Defendant Brian S. Genson has served as a member of the Board since

2004.

        13.      Individual Defendant Dr. Richard M. Krasno has been the Lead Independent

Director since 2014 and has served as a member of the Board since 2006.

        14.      Individual Defendant Richard J. Lampen has been the Company’s Chief

Executive Officer and President since 2006, and Chairman of the Board since 2018, and a

member of the Board since 2002.

        15.      Individual Defendant Michael S. Liebowitz has served as a member of the Board

since 2019.

        16.      Individual Defendant Howard M. Lorber has served as a member of the Board

since 2001.


                                                 4
          Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 5 of 18



        17.     Individual Defendant Jacqueline M. Simkin has served as a member of the Board

since 2011.

        18.     Individual Defendant Mark Zeitchick has served as a member of the Board since

1999.

        19.     Individual Defendant Adam Malamed is the Company’s Executive Vice President

and Chief Operating Officer and has served as a member of the Board since 2018.

        20.     Defendant Ladenburg is incorporated in Georgia and maintains its principal

offices at 303 Peachtree Street, N.E. Atlanta, Georgia 30308. The Company’s common stock

trades on the New York Stock Exchange under the symbol “STI.”

        21.     The defendants identified in paragraphs 10-19 are collectively referred to as the

“Individual Defendants” or the “Board.”

        22.     The defendants identified in paragraphs 10-20 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

A.      The Proposed Transaction Undervalues Ladenburg

        23.     Ladenburg operates as a diversified financial services company in the United

States. Its Independent Advisory and Brokerage Services segment offers advisory and securities

brokerage services for clients, including advisor managed accounts, general securities, mutual

funds, and variable and fixed annuities; brokerage support services, such as access to stock,

bond, exchange-traded fund, and options execution; products comprising insurance, non-traded

real estate investment trusts, and unit trusts; and research, compliance, supervision, accounting,

and related services. This segment also provides asset management services; and trust

administration of personal and retirement accounts, estate and financial planning, wealth

management, and custody services. The company's Ladenburg segment offers investment


                                                5
         Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 6 of 18



banking services consisting of corporate finance services, such as underwritten public, registered

direct, and at-the-market offerings, as well as private investment in public equity and other

private placements; and strategic and financial advisory services. This segment also provides

investment research, sales and trading, and investment services, as well as administration,

operation, securities transactions processing, and customer accounts services; and various asset

management products and services, including asset management programs, investment

consulting services, fund management, private investment management programs, retirement

plan sponsor services, alternative investments, architect programs, and third-party advisory

services. Its Insurance Brokerage segment delivers life insurance, fixed, and equity indexed

annuities, as well as long-term care solutions to investment and insurance providers; and

marketing strategies, product expertise, and back-office processing for fixed and equity-indexed

annuities. Ladenburg was founded in 1876 and is headquartered in Miami, Florida.

       24.     On November 11, 2019, the Company and Advisor Group jointly announced the

Proposed Transaction:

               PHOENIX, Nov. 11, 2019 /PRNewswire/ -- Advisor Group, one of
               the nation's largest networks of independent wealth management
               firms, and Ladenburg Thalmann Financial Services Inc. (NYSE
               American: LTS, LTS PrA, LTSL, LTSF, LTSK, LTSH)
               ("Ladenburg"), a publicly-traded diversified financial services
               company, today announced that both companies have entered into
               a definitive merger agreement to join the two companies.

               Under the terms of the transaction, Ladenburg has agreed to be
               acquired by Advisor Group through a cash merger, in which each
               outstanding share of Ladenburg's common stock will be converted
               into a cash payment of $3.50 per share. The total enterprise value
               of the transaction is approximately $1.3 billion, taking into account
               Ladenburg's common stock, preferred stock and outstanding debt.
               The definitive merger agreement and the transactions contemplated
               were unanimously approved by Ladenburg's Board of Directors.




                                                6
Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 7 of 18



    The transaction, which is subject to customary closing conditions,
    including the approval of Ladenburg's shareholders, and receipt of
    required regulatory clearances and approvals, is expected to close
    in the first half of 2020.

    Following the completion of this transaction, the expanded
    Advisor Group organization will continue to be led by its current
    CEO and President, Jamie Price. When the transaction is
    completed, Advisor Group's leadership team will include senior
    executives from both Advisor Group and Ladenburg. Ladenburg's
    firms will not be merged with Advisor Group's firms, reflecting
    both companies' commitment to a multi-brand network model.

    Advisor Group's network of firms consists of FSC Securities
    Corporation, Royal Alliance Associates, SagePoint Financial and
    Woodbury Financial. Ladenburg's independent advisory and
    brokerage firms include Securities America, Triad Advisors,
    Investacorp, KMS Financial Services and Securities Service
    Network (SSN).

    Additional Ladenburg subsidiaries include Highland Capital
    Brokerage, a leading insurance solutions brokerage; Premier Trust,
    a financial advisor-focused trust services company; and Ladenburg
    Thalmann & Co., a middle market investment bank. Each of these
    subsidiaries has played a role in delivering unique, value-add
    solutions to Ladenburg-affiliated financial advisors.

    Ladenburg Thalmann Chairman, President and CEO Richard
    Lampen said, "This is a transaction that maximizes value for our
    shareholders, while positioning our financial advisors for
    continued growth and success. We have always been impressed
    with Advisor Group's platform, offerings and leadership. Advisor
    Group's CEO, Jamie Price, and his management team offer a
    mature shared services model and a demonstrated ability to
    innovate and invest in ways that help advisors grow. We are
    confident this transaction will help our advisors accelerate the
    growth of their businesses, while enabling them to benefit from the
    highly personalized service experience they have always enjoyed,
    under a very similar multi-custodial, multi-clearing and multi-
    brand structure."

    Advisor Group President and CEO Jamie Price said, "This
    acquisition brings together the best of two industry leaders, to the
    benefit of the financial advisors we collectively serve. We believe
    that the investments necessary for competitively differentiated
    technology, practice management, products and service excellence



                                     7
Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 8 of 18



    require a greater level of scale than either of our companies can
    achieve on a stand-alone basis. In fact, as our two organizations
    learned more about each other's platforms, it became obvious that
    our strengths rounded out each other's offerings, and combined, we
    will have one of the most comprehensive and best-in-class
    platforms for financial advisors in the industry. Equally important,
    Advisor Group and Ladenburg have a shared commitment to the
    flexibility of third-party clearing, together with maintaining a
    'small firm feel' delivered through the distinct management teams
    and cultures of a multi-brand network model. In today's fast-
    consolidating marketplace, where advisors fear becoming just
    another number in the crowd, the more intimate service culture and
    sense of community that our multi-brand approach offers is
    increasingly in demand."

    Milton Berlinski, Co-Founder and Managing Partner of Reverence
    Capital Partners, a leading financial services-focused private equity
    firm and majority equity owner of Advisor Group, said,
    "Ladenburg Thalmann and Advisor Group are highly
    complementary businesses, with nationwide footprints, technology
    capabilities and senior management talent that represent the best of
    what the wealth management industry has to offer for financial
    advisors and their clients. By combining these two firms, we have
    created one of the most robust platforms in the country to support
    advisors' growth, with the scale, resources and intellectual capital
    to position them for success, no matter their business model or
    client focus."

    Giving Advisors the Best of the Best in Platforms, Tools and
    Expertise

    Following the completion of this transaction, Advisor Group will
    continue to operate under a multi-brand network model of firms,
    enabling the delivery of industry-leading tools and expertise
    through distinct firms with unique brands that each offer a sense of
    community and personalized service for affiliated financial
    advisors.

    Financial advisors affiliated with Ladenburg's subsidiary firms are
    expected to benefit from Advisor Group's recent investments in
    cutting-edge enterprise-level service offerings, including eQuipt,
    the firm's fully-digital client onboarding system; MyCMO, its
    personalized advisor marketing platform; MySuccessionPlan.com,
    its suite of bundled succession planning resources; and its
    integrated CyberGuard Program for cybersecurity.




                                     8
Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 9 of 18



    For advisors affiliated with Advisor Group, the transaction brings
    access to Ladenburg Thalmann's industry-leading practice
    management capabilities, wealth management resources, advisor-
    client portal technologies and expanded national scale.

    The two companies also feature strong cultural similarities,
    including a shared commitment to supporting greater diversity
    across the industry, including advancing career opportunities for
    women financial advisors and women executives, as evidenced by
    Advisor Group's Women Forward initiative and the Ladenburg
    Institute of Women & Finance.

    Multi-Custodial, Multi-Clearing Approach Minimizes Disruption
    and Maximizes Flexibility; Positions Company for Future
    Leadership in RIA Segment

    Upon the transaction's completion, Advisor Group will be one of
    the industry's leading providers of a multi-custodial, multi-clearing
    model that drives maximum choice and flexibility for financial
    advisors.

    Because both Advisor Group and Ladenburg use Pershing and
    National Financial (part of Fidelity Custody & Clearing Solutions)
    as their largest clearing providers, no repapering of client accounts
    will be necessary in connection with this transaction and its
    closing.

    As one of the largest multi-custodial and multi-clearing networks
    of firms in the country, the company will be even better positioned
    to redefine the RIA segment of the wealth management space. The
    combined company will be able to support all financial advisor
    business models, including the hybrid advisor doing both securities
    and advisory business, as well as the "investment advisor only"
    professional who is either utilizing a corporate RIA platform, or
    has an independent RIA.

    Adam Malamed, Executive Vice President and Chief Operating
    Officer of Ladenburg, said, "The ongoing evolution of our industry
    validates the importance of Ladenburg and Advisor Group's
    respective roles as the leading innovators of the network model of
    firms approach within our industry. The appeal of bringing
    Ladenburg and Advisor Group together is driven in large part by
    our shared vision for driving a transformative and innovative
    approach to the wealth management space. For example, among
    the many advantages of our multi-custodial, multi-clearing
    capabilities are the expertise and leadership we can further build in



                                     9
         Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 10 of 18



               the RIA space. The combination of Ladenburg and Advisor Group
               creates a unique offering for financial advisors who are primarily
               fee-based, or fee-only, whether they want to have their own RIA
               under a turnkey level of back and middle office support, or would
               prefer to do fee-only work through a corporate RIA, without
               having to also hold securities licenses on the brokerage side of our
               industry."

               Financial and Legal Advisors to the Transaction

               Jefferies LLC is acting as financial advisor to Ladenburg, with
               Sullivan & Cromwell LLP serving as Ladenburg's legal counsel.
               Eversheds Sutherland, Kirkland & Ellis LLP, and Greenberg
               Traurig LLP are serving as legal counsel to Advisor Group and
               Reverence Capital.

               Committed financing for this transaction has been provided by
               Bank of America, UBS Securities, Barclays, Deutsche Bank
               Securities and Goldman, Sachs & Co.


       25.     The Board has agreed to Proposed Transaction and it is therefore imperative that

Ladenburg’s stockholders are provided with the material information that has been omitted from

the Proxy Statement, so that they can meaningfully assess whether or not the Proposed

Transaction is in their best interests prior to the forthcoming stockholder vote.

B.     The Materially Incomplete and Misleading Proxy Statement

       26.     On December 9, 2019, Ladenburg and Advisor Group jointly filed the Proxy

Statement with the SEC in connection with the Proposed Transaction. The Proxy Statement was

furnished to the Company’s stockholders and solicits the stockholders to vote in favor of the

Proposed Transaction. The Individual Defendants were obligated to carefully review the Proxy

Statement before it was filed with the SEC and disseminated to the Company’s stockholders to

ensure that it did not contain any material misrepresentations or omissions. However, the Proxy

Statement misrepresents and/or omits material information that is necessary for the Company’s




                                                 10
         Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 11 of 18



stockholders to make an informed decision concerning whether to vote in favor of the Proposed

Transaction, in violation of Sections 14(a) and 20(a) of the Exchange Act.

Material Omissions Regarding Financial Projections

       27.     The Proxy Statement fails to provide material information concerning financial

projections by Ladenburg management and relied upon by Jefferies in its analyses. The Proxy

Statement discloses management-prepared financial projections for the Company which are

materially misleading. The Proxy Statement indicates that in connection with the rendering of its

fairness opinion, that the Company prepared certain non-public financial forecasts (the

“Company Projections”) and provided them to the Board and the financial advisor. Proxy at 36-

37. Accordingly, the Proxy Statement should have, but fails to provide, certain information in the

projections that Ladenburg management provided to the Board and the financial advisors. Courts

have uniformly stated that “projections … are probably among the most highly-prized

disclosures by investors. Investors can come up with their own estimates of discount rates or []

market multiples. What they cannot hope to do is replicate management’s inside view of the

company’s prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del.

Ch. 2007).

       28.     For the Company Projections, the Proxy Statement provides values for non-

GAAP (Generally Accepted Accounting Principles) financial metrics Income Before Income

Taxes and Adjusted EBITDA, but fails to provide line items used to calculate these metrics or a

reconciliation of these non-GAAP metrics to their most comparable GAAP measures, in direct

violation of Regulation G and consequently Section 14(a). Proxy Statement at 37.

       29.     When a company discloses non-GAAP financial measures in a Proxy Statement

that were relied on by a board of directors to recommend that stockholders exercise their




                                               11
        Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 12 of 18



corporate suffrage rights in a particular manner, the company must, pursuant to SEC regulatory

mandates, also disclose all projections and information necessary to make the non-GAAP

measures not misleading, and must provide a reconciliation (by schedule or other clearly

understandable method) of the differences between the non-GAAP financial measure disclosed

or released with the most comparable financial measure or measures calculated and presented in

accordance with GAAP. 17 C.F.R. § 244.100.

       30.    The SEC has noted that:

              companies should be aware that this measure does not have a uniform
              definition and its title does not describe how it is calculated. Accordingly,
              a clear description of how this measure is calculated, as well as the
              necessary reconciliation, should accompany the measure where it is used.
              Companies should also avoid inappropriate or potentially misleading
              inferences about its usefulness. For example, "free cash flow" should not
              be used in a manner that inappropriately implies that the measure
              represents the residual cash flow available for discretionary expenditures,
              since many companies have mandatory debt service requirements or other
              non-discretionary expenditures that are not deducted from the measure.

       31.    Thus, to cure the Proxy Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Proxy Statement,

Defendants must provide a reconciliation table of the non-GAAP measure to the most

comparable GAAP measure to make the non-GAAP metrics included in the Proxy Statement not

misleading.

Material Omissions Regarding Financial Analyses

       32.    With respect to the Selected Public Companies Analysis, the Proxy Statement fails

to disclose the individual multiples and financial benchmarking metrics for each company

observed by Jefferies. Also omitted are the Company’s total debt as of October 31, 2019 and

parent company cash as of the same date.




                                               12
           Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 13 of 18



          33.   With respect to the Selected Transactions Analysis, the Proxy Statement fails to

disclose the individual transaction values, last 12 month revenue multiples observed for the

selected transactions, and the Company’s total debt as of October 31, 2019 and parent company

cash as of the same date.

          34.   With respect to the Discounted Cash Flor Analysis, the Proxy Statement fails to

disclose: (i) terminal values of the Company; (ii) the basis for choosing the range of adjusted

EBITDA multiples of 7.0x to 9.0x; the basis of using a discount rate range of 11.5% to 12.50%.

          35.   In sum, the omission of the above-referenced information renders statements in

the Proxy Statement materially incomplete and misleading in contravention of the Exchange Act.

Absent disclosure of the foregoing material information prior to the special stockholder meeting

to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed decision

regarding whether to vote in favor of the Proposed Transaction, and they are thus threatened with

irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          36.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          37.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary

in order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.



                                                 13
         Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 14 of 18



       38.     Defendants have issued the Proxy Statement with the intention of soliciting

stockholder support for the Proposed Transaction.       Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement and the use of their name in the Proxy

Statement, which fails to provide critical information regarding, amongst other things: the

financial projections that were prepared by the Company and relied upon by the Board in

recommending the Company’s stockholders vote in favor of the Proposed Transaction.

       39.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but

failed to disclose such information, in violation of Section 14(a). The Individual Defendants

were therefore negligent, as they had reasonable grounds to believe material facts existed that

were misstated or omitted from the Proxy Statement, but nonetheless failed to obtain and

disclose such information to stockholders although they could have done so without

extraordinary effort.

       40.     Defendants were, at the very least, negligent in preparing and reviewing the Proxy

Statement. The preparation of a Proxy Statement by corporate insiders containing materially

false or misleading statements or omitting a material fact constitutes negligence. Defendants

were negligent in choosing to omit material information from the Proxy Statement or failing to

notice the material omissions in the Proxy Statement upon reviewing it, which they were

required to do carefully. Indeed, Defendants were intricately involved in the process leading up

to the signing of the Merger Agreement and the preparation and review of strategic alternatives

and the Company’s financial projections.




                                               14
            Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 15 of 18



           41.   The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations

and omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no

adequate remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff

be fully protected from the immediate and irreparable injury that Defendants’ actions threaten to

inflict.

                                              COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

           42.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

           43.   The Individual Defendants acted as controlling persons of Ladenburg within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

directors of Ladenburg, and participation in and/or awareness of the Company’s operations

and/or intimate knowledge of the incomplete and misleading statements contained in the Proxy

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of Ladenburg, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

           44.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.




                                                  15
         Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 16 of 18



       45.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of Ladenburg, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Proposed Transaction. The Proxy Statement at

issue contains the unanimous recommendation of the Board to approve the Proposed

Transaction. The Individual Defendants were thus directly involved in the making of the Proxy

Statement.

       46.     In addition, as the Proxy Statement sets forth at length, and as described herein,

the Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Proxy Statement purports to describe the various issues and information that

the Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       47.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       48.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9,

by their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       49.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.




                                                16
           Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 17 of 18



                                       RELIEF REQUESTED

          WHEREFORE, Plaintiff demands injunctive relief in her favor and against the

Defendants jointly and severally, as follows:

          A.     Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Proxy Statement;

          A.     Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;

          B.     Directing the Defendants to account to Plaintiff for all damages suffered as a

result of their wrongdoing;

          C.     Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and expert fees and expenses; and

          D.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

DATED: December 10, 2019                          Respectfully submitted,

                                                  WOLF HALDENSTEIN ADLER
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                                                17
Case 1:19-cv-11286-AJN Document 1 Filed 12/10/19 Page 18 of 18




                                   Attorneys for Plaintiff




                              18
